          Case 1:18-cv-02921-JMF Document 641 Filed 07/23/19 Page 1 of 2
                                                   U.S. Department of Justice

                                                   Civil Division
                                                   Federal Programs Branch
                                                   P.O. Box 883
                                                   Washington, D.C. 20044



_______________________________________________________________________________________________________

James J. Gilligan                                                       Telephone: (202) 514-3358
Special Litigation Counsel                                              E-mail: james.gilligan@usdoj.gov




                                               July 23, 2019


VIA ECF

The Honorable Jesse M. Furman
United States District Judge
United States District Court for the
  Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

        Re:      State of New York v. U.S. Dep’t of Commerce, No. 18-cv-2921 (JMF),
                 N.Y Immigration Coalition v. U.S. Dep’t of Commerce, No. 18-cv-5025 (JMF)

Dear Judge Furman:

        In accordance with Federal Rule of Civil Procedure 6(b)(1)(B) and paragraphs 1(A), (E)
and 3(A) of Your Honor’s Individual Rules and Practices in Civil Cases, Defendants write on
behalf of all parties to request that the Court extend: (i) the deadline under the Court’s June 5,
2019, Scheduling Order (ECF No. 605) for Defendants to file their opposition to the NYIC
Plaintiffs’ Motion for Sanctions (ECF No. 635) until August 6, 2019; (ii) the deadline for the
NYIC Plaintiffs to file their reply until August 13, 2019; and (iii) the deadline under the Court’s
July 16, 2019, Order (ECF No. 634) for Plaintiffs to file any motion for attorney’s fees until
August 14, 2019. Good cause supports the requested extensions as follows.

        The Court’s June 5 Scheduling Order initially directed that the NYIC Plaintiffs file their
motion for sanctions by July 12, 2019, that Defendants file their opposition by July 26, 2019, and
that Plaintiffs file their reply by August 2, 2019. Thereafter, the Court’s order of July 12, 2019
(ECF No. 630) extended the deadline for Plaintiffs’ sanctions motion to July 16, 2019; no
corresponding extension of time was requested (or granted) to file either Defendant’s opposition
or Plaintiffs’ reply. In addition, the number and breadth of issues raised by Plaintiffs’ motion
substantially exceed the scope of the issues presented in Plaintiffs’ earlier motion for an order to
show cause (ECF No. 587), and therefore Defendants require more time than originally
         Case 1:18-cv-02921-JMF Document 641 Filed 07/23/19 Page 2 of 2
Hon. Jesse M. Furman
July 23, 2019
Page 2

anticipated to prepare an appropriate response. An extension from July 26 to August 6, 2019, to
file Defendants’ opposition will restore the four days’ time lost due to the deferred filing of
Plaintiffs’ motion, and provide Defendants an additional week’s time thereafter to prepare and
file their opposition. An extension until August 13, 2019, will provide Plaintiffs the original
time contemplated under the Court’s June 5 Scheduling Order to file their reply. No party
opposes these extensions of time.

        In terms of the deadline to file an attorneys’ fees motion, Plaintiffs seek an extension
from July 30, 2019 until August 14, 2019, to allow for sufficient time to discuss the potential for
settlement of fees and costs with Defendants without Court involvement. Given the extensive
number of entities and individuals involved with this litigation and the amount of resources
devoted, this extension will allow Plaintiffs to properly assemble the relevant records and both
parties time to engage in negotiations with full knowledge of the relevant costs and fees at issue.

        These are the first requests for extensions of these deadlines. The requested extensions
will not affect any other date set by the Court. There are currently no conferences scheduled in
these matters.

         For these reasons, the parties respectfully request: (i) that the deadline for Defendants to
file their opposition to the NYIC Plaintiffs’ Motion for Sanctions be extended until August 6,
2019; (ii) that the deadline for the NYIC Plaintiffs to file their reply be extended to August 13,
2019; and (iii) that Plaintiffs’ deadline to file any motion for attorney’s fees be extended to
August 14, 2019.


                                               Respectfully submitted on behalf of all parties
                                               by permission,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General


                                                /s/ James J. Gilligan
                                               JAMES J. GILLIGAN
                                               Special Litigation Counsel
                                               Civil Division, Federal Programs Branch
                                               United States Department of Justice
                                               P.O. Box 883
                                               Washington, D.C. 20044
                                               Telephone: (202) 514-3358
                                               Fax:         (202) 616-8470
                                               E-mail:      james.gilligan@usdoj.gov

                                               Counsel for Defendants
